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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


UNITED STATES OF AMERICA                                                            PLAINTIFF

   v.                                                            Case No. 3:22-CR-00088-DJH

PHIL PASCOE
SCOTT TUBBS
MONICA PASCOE
QUADRANT MAGNETICS LLC                                                         DEFENDANTS

                    FIRST MODIFIED AGREED PROTECTIVE ORDER

        This matter having come before the Court on the joint motion of the United States of

America and the Defendants pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure, for a First Modified Agreed Protective Order limiting the use and dissemination of

certain material and information produced by the United States as discovery materials in this

case, and which contain confidential personal individually identifiable identity information

(“PII”), financial information, proprietary data, trade secret information, and export controlled

technical data subject to various regulatory restrictions, including the International Traffic in

Arms Regulations, 22 C.F.R. parts 120-130 (“ITAR”), and the Arms Export Control Act, 22

U.S.C. 2778. The court having considered the motion, and being otherwise sufficiently advised,

        IT IS HEREBY ORDERED, pursuant to Rule 16(d) of the Federal Rules of Criminal

Procedure, the Court’s inherent authority, and with the consent of the parties to this action, that:

        1.     The material provided in discovery by the United States to defendants shall be

used by defendants and counsel solely for preparation of their defenses.

        2.     Defendants agree not to make and retain a copy of the discovery provided by the
United States or to transcribe any information regarding third parties who are identified in the

discovery. Defense counsel may make such copies as is necessary for their clients’ defense.
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Defendants further agree only to view the discovery which the government (1) obtained from

parties other than the defendants, (2) not already possessed by the defendants, (3) containing

confidential personal individually identifiable identity information (“PII”), proprietary data, trade

secret information, and export controlled technical data subject to various regulatory restrictions,

and (4) marked as “Confidential” (collectively the “Confidential Materials”); while in the

presence of their attorneys. Only U.S. persons, as defined in the ITAR under 22 C.F.R. §120.62,

shall be granted access to export controlled technical data or shall obtain a license for access

from the U.S. Department of State.

       3.      Subject to and in conformity with the provisions of this Order, the parties shall not

disclose or distribute this discovery to any person or entity other than the following:

               (a)     The parties to this action, as well as employees of and the
               attorneys for the parties (including their paralegals,
               clerical/administrative and other assistants) who have a clear need
               for access to confidential information in connection with this
               action; and outside contractors hired to copy, image, index, sort, or
               otherwise manage the storage and retrieval of case materials;

               (b)    Persons retained by a party or its counsel to serve as expert
               witnesses or otherwise to provide advice to counsel in connection
               with this action, provided such persons have signed a written
               acknowledgment, attesting to the fact that they have read this Order
               and agree to be bound by its terms;

               (c)    Persons with factual knowledge relating to the case in the
               course of an interview, deposition, or testimony, in the reasonable
               and good faith belief of counsel that examination with respect to
               the Confidential Information is necessary or appropriate for the
               prosecution or defense of the case;

               (d)      Stenographers engaged to transcribe depositions conducted
               in this action; and
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               (e)     the Court and its support personnel.

       All persons who are given access to ITAR-controlled technical data must be U.S. persons

as defined in the regulations or be granted a license from the U.S. Department of State for such

access. The parties shall not disclose the discovery materials to any persons described under

subparagraphs (a) through (e) unless and until the attorney of record has informed such persons

of the contents of this order and they agree to be bound by its terms. Each person must agree that

the information to be shared with them contains Confidential Materials, that is subject to this

Order, and should not be further disclosed except for purposes having to do with this litigation

and consistent with applicable export control laws and regulations.

       4.      The parties shall allow no person to have access to the discovery materials, nor

shall any person be informed of the substance of discovery materials, except as otherwise

provided in this Order or by further order of the Court.

       5.      Disclosure of discovery materials for purposes related to the prosecution and

 defense of the criminal case may be made to the Court in connection with proceedings in this

 case, and consistent with the provisions of Rule 49.1 of the Federal Rules of Criminal

 Procedure governing privacy protections for filings made in court.

       6.      Counsel for the defendants shall not allow any client to possess or retain un-

 redacted copies of any Confidential Materials without counsel being present and will take all

 reasonable steps necessary to ensure that Confidential Materials are not improperly disclosed

 including the disclosure to any non-U.S. persons of export controlled technical data who do

 not possess an export license from the relevant U.S. licensing authority, including the U.S.

 Department of State, the U.S. Department of Commerce, or the U.S. Department of the

 Treasury, as required by U.S. law and regulation for such disclosure.
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       7.      Within sixty (60) days of the resolution of this action by settlement or final

judgment, and the termination of any appeal therefrom, the parties shall destroy or return to the

producing entity all Confidential Materials, provided, however, that government counsel may

retain one copy of any discovery documents whose retention counsel determines, reasonably and

in good faith, is necessary or appropriate for compliance with the Federal Records Act, 44

U.S.C. ' 3101, and its implementing regulations, 36 C.F.R. § 1222.38. Any such retained

materials shall be placed in an envelope or envelopes marked "Confidential and/or export

controlled Information Subject to Protective Order," and to which shall be attached a copy of

this Order.

       8.      Nothing in this Order shall prevent any party from seeking a modification of, or

 appropriate relief from, any provision herein.

       9.      This Order does not constitute a ruling on the question of whether any particular

 material is properly discoverable or admissible, and does not constitute a ruling on any

 potential objection to the discoverability of any material subject to applicable export control

 law and regulation.

       10.     The termination of this litigation shall not relieve any person or party provided

 Confidential Materials of his, her or its obligations under this Order and applicable export

 control law and regulations.

       11.     The United States intends to produce material to the defense pertaining to the

determination by the State Department’s Directorate of Defense Trade Controls (“DDTC”) that

certain material in this case is purportedly controlled by ITAR as well as the processes employed

by DDTC, and entities and personnel with whom it consulted, in making that determination

(“Commodity Jurisdiction Information”). Such materials contain information that is pre-

decisional and may be subject to the government’s deliberative process privilege, among
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potential other privileges. The United States is authorized to provide defense counsel with

Commodity Jurisdiction Information marked with the following legend: “COMMODITY

JURISDICTION INFORMATION – CONTENTS SUBJECT TO PROTECTIVE ORDER.” All

provisions of this Protective Order apply to these materials. In addition, in the event that a party

needs to file Commodity Jurisdiction Material with the Court or divulge Commodity Jurisdiction

Information in court filings, such filing shall be made under seal pursuant to an ex parte

application. If the Court denies a request to file such information under seal, the party seeking to

file such information publicly shall provide advance written notice to opposing counsel to afford

such party an opportunity to object or otherwise respond to such intention. Before such

information may be filed publicly and before the opposing party files any objection to the

anticipated public filing, the parties shall meet and confer regarding any alternatives to filing the

information publicly and, if none are found, to determine whether any redactions may

accommodate the parties’ needs.




APPROVED AND ENTERED THIS _____ day of January, 2024.
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Having Seen and Agreed:

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